Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
                              Document7 2-18
                                           FiledFiled
                                                 09/07/23
                                                      10/24/24
                                                             PagePage
                                                                  1 of 21 PageID:
                                                                          of 2    75



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY



  NINA AGDAL,
                                                                    Civil Action No. 23-16873
                  Plaintiff,
                                                                             ORDER
          v.

  DILLON DANIS,

                  Defendant.


         THIS MATTER having been opened to the Court by Plaintiff Nina Agdal (“Plaintiff”), by and

 through her counsel, Sills Cummis & Gross P.C., on an application, pursuant to Federal Rule of Civil

 Procedure 65 and Local Civil Rule 65.1, for temporary restraints against Defendant Dillon Danis

 (“Defendant”); and Plaintiff having provided notice and a copy of the pleadings to Defendant by email to

 his manager; the Court having considered Plaintiffs Verified Complaint, the Declarations of Nina Agdal,

 Quincy Bahler, and Jeffrey A. Neiman, Esq. and the accompanying Memorandum of Law submitted in

 support of Plaintiffs application; and it appearing that good and sufficient reasons exist to proceed by way

 of Order to Show Cause, and for good cause shown;


         IT IS on this 7th day of September, 2023,


         1.      ORDERED that, on the 12th day of September 2023, at 4:30 p.m., or as soon thereafter

 as counsel can be heard, in Courtroom 4A of the United States District Court for the District of New

 Jersey, Martin Luther King, Jr. Fed. Bldg. & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07101,

 Defendant shall show cause before Hon. Madeline Cox Arleo why this Court should not grant Plaintiff's

 application for temporary restraints enjoining Defendant and all persons in active concert or participation

 with him from (1) posting sexually explicit photographs of Plaintiff on the internet without her consent, in

 violation of 15 U.S.C. § 6851 (the 2022 Violence Against Women Act Reauthorization) and N.J. Stat.§

 2A:58D-l, and from (2) posting content in any way depicting or portraying Plaintiff that Defendant knows
Case 2:23-cv-16873-MCA-MAH
      Case 3:24-mc-80266-JCS Document
                              Document7 2-18
                                           FiledFiled
                                                 09/07/23
                                                      10/24/24
                                                             PagePage
                                                                  2 of 22 PageID:
                                                                          of 2    76



 or has reason to believe was never meant to be shared publicly or was obtained without consent, through

 the hacking of any of Plaintiff’s accounts or devices, or through any other illegal or unauthorized means.

           2.     ORDERED that pending the September 12, 2023 hearing and until further Order of the

 Court, Defendant and all persons in active concert or participation with him are enjoined from posting

 sexually explicit photographs of Plaintiff on the internet without her consent, in violation of 15 U.S.C. §

 6851 (the 2022 Violence Against Women Act Reauthorization) and N.J. Stat.§ 2A:58D-1; and it is further

           3.     ORDERED that (1) failure to attend the show cause hearing shall result in the immediate

 issuance of the preliminary injunction, which shall be deemed to take effect immediately upon the

 expiration or dissolution of this Order to Show Cause, and shall remain in full force and effect while this

 suit is pending, and which shall provide the same injunctive relief granted by this Order to Show Cause;

 and (2) any act or violation of any such terms may be considered as contempt by this Court; and it is

 further

           4.     ORDERED that any briefs, affidavits, or other evidence in opposition to this application

 for Order to Show Cause, if any, shall be filed with the clerk of the Court and served upon the attorneys

 for Plaintiff by delivering copies thereof to Plaintiff’s counsel by email on or before Sunday, September

 10, 2023 at noon; Plaintiff’s reply papers shall be filed with the clerk of the Court and served upon

 Defendant by delivering copies thereof to Defendant email on or before Monday, September 11, 2023 at

 5:00 pm; and it is further

           5.     ORDERED that Plaintiff shall serve Defendant a copy of this Order, Summons, Verified

 Complaint, supporting Declarations, and Memorandum of Law immediately, via personal service, email

 and mail service and shall forthwith file a certificate of service with the Court.




                                                            s/Madeline Cox Arleo
                                                            HON. MADELINE COX ARLEO
                                                            UNITED STATES DISTRICT JUDGE
